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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JERRY RICHMOND,

Defendant.                                                 No. 10-30084-DRH



                                      ORDER




HERNDON, Chief Judge:

              This matter is before the Court for case management purposes.

Specifically, the Court wishes to AMEND its Order to Continue (Doc. 21) filed on

July 13, 2010. In that Order, the Court continued the trial setting as to Jerry

Richmond upon finding that the ends of justice justified such a continuance under

18 U.S.C. § 3161(h)(7)(A). However, the Court inadvertently failed to mention that

there were also two fugitives in this case which have not been arraigned so that the

Speedy Trial Clock has not yet began to run.

              Therefore, the Court AMENDS its previous Order to Continue (Doc. 21)

as follows:

              The Court notes that two of the co-defendants in this case, Deneshion
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Swope and Bryant Giles, remain fugitives. Both Defendants are still at large and

have not yet been arraigned. Further, no motion for severance of the defendants has

been filed or granted in this case, meaning all Defendants adhere to the same Speedy

Trial Act count. Therefore, in actuality and the state of the law is that the Speedy

Trial “clock” does not begin to run until the last co-defendant is arraigned. In this

case, as there are two fugitives, the 70-day window for conducting this trial has not

yet come into play under the Speedy Trial Act. See United States v. Larson, 417

F.3d 741, 745 n.1 (7th Cir. 2005) (“In the typical joint trial, the Speedy Trial

clock begins when the last co-defendant is arraigned.”) (citing United States v.

Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995)); Henderson v. United States,

476 U.S. 321, 323 n.2 (1986); 18 U.S.C. § 3161(h)(6); United States v.

Souffront, 338 F.3d 809, 835 (7th Cir. 2003) (The Court found that the

seventy-day clock commenced the day a fugitive-also the final co-defendant in

the case, was arraigned). Since the Speedy Trial clock has not begun to run, there

is no need to account for exclude time due to trial delays, such as when a trial is

continued.

             However, in the alternative to finding that the Speedy Trial clock has yet

to commence, the Court finds that the reasons stated in the motion to continue (Doc.

20) as well as stated by this Court in its Order to continue (Doc. 21) justify reasons

for granting a continuance and excluding time under the Speedy Trial Act. The Court

finds that pursuant to 18 U.S.C. § 3171(h)(7)(A), the ends of justice served by the



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granting of such a continuance outweigh the best interests of the public and the

Defendant in a speedy trial.



            IT IS SO ORDERED.

            Signed this 15th day of July, 2010.



                                            /s/ DavidRHer|do|
                                           Chief Judge
                                           United States District Court




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